                     Case 2:18-cr-00365-JNP-BCW Document 172 Filed 01/31/19 Page 1 of 1

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                                               United States District Court
                                                                             for the
                                                                                                                           ZDl9 JAN 3 l t o I: l I
                                                                        District of Utah
                  UNITED STATES OF AMERICA

                                 V.

                        Kingston et al

                                                             ARREST WARRANT
To:         The United States Marshal
            and any authorized law enforcement officer
                                                                                                                                 ORIGINAL
YOU ARE HEREBY COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay (name of person
to be arrested)      JACOB 0. KINGSTON
who is accused of an offense or violation based on the following document filed with the court:

D       Indictment      [Kl   Superseding Indictment.                   D    Information           D   Superseding Information

                        D     Complaint         D      Order of court   D    Violation Notice      D   Probation Violation Petition

                        D   Supervised Release Violation Petition
This offense is briefly described as follows:
            Conspiracy to commit mail fraud ; Willfully Aiding and Assisting in the Filing of a False Claim; Conspiracy to
            Commit Money Laundering Offenses; Conspiracy to Commit Money Laundering Offenses ; ,Conspiracy to Commit
            Money Laundering Offenses ; Money Laundering ; Conspiracy to Commit Obstmctio~ of Justice Offenses;
            Destroying and Concealing Records and Objects; Tampering with a Witness

                                                                                                                           •en
                                                                                                                           ~
                     18:1349; 26:7206(2) (2-20ss); 18:1956(11) (23-25ss); 18:1956(a)(l)(B)(i) (27ss-29ss);      ~·
in violation of
                      18:1956(a)(l)(B)(i) (31-32ss · 18_:}957 (33-34ss); 18:1512(k); 18:1512(c)(l); 18:1512(a)(2t~
                                                                                                                            (Jl)I
                                                                            Clerk of Court                                     '''i"'
                                                                            Title of Issuing Officer                           ft;

                                                                            January 17, 2019 at Salt Lake City, Utah           '}~·
                                                                             ate and Location                              ·. ::r.:·

By:         Je1mifer Stout
            Deputy Clerk


Bail fixed

                                                                            RETURN

This warrant was received and executed with the arrest of the above-named defendant at


 DATE RECEIVED                NAME AND TITLE OF ARRESTING                    SIGNATURE OF ARRESTING OFFICER


        /rg /19
        I
                              OFFICER

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 DA77;R~T11
                                           cl))._)-


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